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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

STATE OF NEBRASKA, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )               No. 4:22-CV-1040-HEA
      v.                                  )
                                          )
JOSEPH R. BIDEN, JR., et al.,             )
                                          )
      Defendants.                         )
__________________________________________)

                               NOTICE OF APPEARANCE

       R. Charlie Merritt, Trial Attorney for the U.S. Department of Justice, Civil Division,

Federal Programs Branch, hereby enters his appearance as counsel for the Defendants.

Dated: October 3, 2022                             Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                   Principal Deputy Assistant Attorney General

                                                   MARCIA BERMAN
                                                   Assistant Branch Director

                                                   /s/ R Charlie Merritt
                                                   R. CHARLIE MERRITT
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                                                   Counsel for Defendants
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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on October 3, 2022, a copy of the foregoing was

filed electronically using this Court’s CM/ECF system, and therefore served on all parties of

record.


                                                      s/ R. Charlie Merritt
                                                      R. Charlie Merritt
                                                      Trial Attorney




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